                 Case
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
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Molly C. Dwyer
Clerk of Court                             April 30, 2018


       No.:              18-80053
       D.C. No.:         3:15-cv-03747-JD
       Short Title:      Nimesh Patel, et al v. Facebook, Inc.


       Dear Appellant/Counsel

       This is to acknowledge receipt of your Petition for Permission to Appeal under
       23(f).

       All subsequent letters and requests for information regarding this matter will be
       added to your file to be considered at the same time the cause is brought before the
       court.

       The file number and the title of your case should be shown in the upper right
       corner of your letter to the clerk's office. All correspondence should be directed to
       the above address pursuant to Circuit Rule 25-1.
